Case 2:05-cr-20157-.]PI\/| Document 13 Filed 07/07/05 Page 1 of 2 Page|D 15

F:Lt-;o %c

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 95 JUI ___-l PH 1 : 2 1
Western Division " `

 

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20157-Ml

DANIEL I. CHENEY

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Defendant, it is ORDERED that a detention hearing is re-set for
WEDNESDAY, JULY 13, 2005 at 2:30 P.M. before United States Magistrate Judge Diane K.
Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167
Notth Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing

Date: July 6, 2005 cg m J

S. THOMAS ANDERSON
UNITED STA'I`ES MAGISTRATE JUDGE

 

‘If not held immediater upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant. 18 U.S.C. § 3 142(1)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial ofticer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 {8¢'85) Ordar of Terrporary Detention

This document entered on the dock

. ets eetln compliance
with ante as and/or 32(b) Fnch on ~ 5

 
 

UNITED sTATE DRISTIC COURT - WESTERN D'S'TRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number l3 in
case 2:05-CR-20157 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

William C. Anderson
ANDERSON LAW FIRM
142 North Third St.
l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

